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 8                             UNITED STATES DISTRICT COURT
 9                            SOUTHERN DISTRICT OF CALIFORNIA
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11    COSIMO CAVALLARO; and ART                            Case No.: 20-cv-2157-WQH-AGS
      ABOVE GROUND,
12
                                         Plaintiffs,       ORDER
13
      v.
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      SLSCO, LTD.; and ULTIMATE
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      CONCRETE LLC,
16                                     Defendants.
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18    HAYES, Judge:

19          IT IS HEREBY ORDERED that, pursuant to the Joint Notice of Settlement (ECF

20    No. 55), all pending dates and deadlines, including the Final Pretrial Conference set for

21    May 27, 2022, are vacated. No later than June 6, 2022, the parties shall file a joint motion

22    to dismiss the case or a status report.

23     Dated: May 17, 2022

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